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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                              Plaintiff,            )
                                                    )       CASE NO: 2:19-CV-380
                      v.                            )
                                                    )
HEIRS AND DEVISEES OF                               )
DOROTHY A. FIDNARIK, DECEASED; and                  )
TIFFANY DERR-DIAZ,                                  )
                                                    )
                              Defendants.           )

                                    IN REM COMPLAINT

       Comes now the plaintiff, United States of America, by Thomas L. Kirsch II, United States

Attorney for the Northern District of Indiana, and Sharon Jefferson, Assistant United States

Attorney, for and on behalf of the U.S. Department of Housing and Urban Development (HUD),

an agency of the United States government, and for its cause of action alleges as follows:

                                           JURISDICTION

       This is an action to foreclose a mortgage to recover indebtedness due the United States.

This Court has jurisdiction pursuant to 28 U.S.C. Section 1345 and venue is proper.

                                             COUNT I

       1. Prior to her death, Dorothy A. Fidnarik was the owner of the following described real

estate in Porter County, Indiana:

               Lot 2 in Chautauqua Park, in the City of Valparaiso, as per plat
               thereof, recorded in Miscellaneous Record E, Page 582, in the
               Office of the Recorder of Porter County, Indiana.

               Commonly Known As: 511 Center Street, Valparaiso, Indiana
               46385. (Herein Athe real estate.@)
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        2. On October 18, 2002, Dorothy A. Fidnarik executed a promissory note (the Anote@) a

copy of which is attached and made a part hereof as “Exhibit 1.”

        3. To secure payment of her obligation under the note, Dorothy A. Fidnarik, executed a

home equity conversion mortgage (the Amortgage@) and a second mortgage, copies of which are

attached, here incorporated by reference and marked for identification as “Exhibit 2”, and “Exhibit

3.”

        4. The note and mortgages are held by the United States.

        5. Dorothy A. Fidnarik died a resident of Valparaiso, Indiana on December 4, 2012.

        6. Repayment of the debt evidenced by the note is in default. There is due $164,036.88

plus interest from April 14, 2017 to date of judgment at $12.67 per day.

        7. No personal representative was appointed. Title vested in the heirs of Dorothy A.

Fidnarik at her death and the heirs are named as parties to answer as to their interest, if any, in

the real estate.

        8. The heirs and devisees of Dorothy A. Fidnarik are named as parties to answer as to

their interests, if any, in the real estate. However, all of the heirs and devisees at law are

unknown and service by publication is required.

        9. Tiffany Derr-Diaz is believed to presently occupy the real estate and is made a party to

answer as to her interest, if any, in the property.




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    WHEREFORE, plaintiff requests:

        1. A judgment in rem against the property in the amount of $164,036.88 together with

accruing interest at $12.67 per day.

        2. An order declaring the lien of plaintiff=s mortgage to be prior and paramount to the

interests of all other parties.

        3. An order foreclosing the equity of redemption of the heirs of Dorothy A. Fidnarik, and

all persons claiming under or through her, in the real estate.

        4. An order directing the sale of the property by the U.S. Marshals and payment of the

proceeds to pay the Marshal=s costs, then to pay the judgment of plaintiff, and with any then-

remaining overplus paid to the Clerk of the Court to be disposed of as the Court shall direct.

        5. That the plaintiff have such other and further relief as is just and proper in the premises.



                                               Respectfully submitted,

                                               THOMAS L. KIRSCH II
                                               UNITED STATES ATTORNEY

                                               s/ Sharon Jefferson
                                       By:     Sharon Jefferson
                                               Assistant United States Attorney
                                               United States Attorney=s Office
                                               5400 Federal Plaza, Suite 1500
                                               Hammond, IN 46320
                                               Tel: (219) 937-5500
                                               Fax: (219) 852-2770
                                               Email Address: Sharon.jefferson2@usdoj.gov




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                                            ADJUSTABLE RATE NOTE
                                                                                                                         IIll/III/IJ /Ill ·
                                                                                                                          ·1·
                                         (HOME EQUITY CONVERSION)
 OCTOBER 18, 2002

 PROPERTY ADDRESS                                                                        FHA Case Number: 151-6896895

           511 CENTER STREET
           VALPARAISO, INDIANA 46385
           PORTER COUNTY

 1. DEFINITIONS

 "Borrower• means each person signing at the end of this Note. "Lender" means Financial Freedom Senior Funding
 Corporation, a Subsidiary of Lehman Brothers Banlc, FSB and its successors and assigns. "Secretary· means the Secretary
 of Housing and Urban Development or his or her authorized representatives.

 2. BORROWER'S PROMISE TO PAY; INTEREST

 In return for amounts to be advanced by Lender to or for the benefit of Borrower under the tcnns of a Horne Equity
 Conversion Loan Agreement dated OCTOBER 18, 2002 ("Loan Agreement"), Borrower promises to pay to the order of
 Lender a principal amount equal to the sum of all Loan Advances made under the Loan Agreement with interest. All
 amounts advanced by Lender, plus interest, ifnot paid earlier, are due and payable on JANUARY 17, 2081. Interest will
 be charged on unpaid principal at the rate of THREE AND NINE HUNDREDTHS percent (3.090%) per year until the full
 amount of principal has been paid. The interest rate may change in accordance with Paragraph 5 of this Note. Accrued
 interest shall be added to the principal balance as a Loan Advance at the end of each month.

 3. PROMISE TO PAY SECURED

 Borrower's promise to pay is secured by a mortgage, deed of trust or similar security instrument that is dated the same date
 as this Note and called the "Security Instrument.• The Security Instrument protects the Lender from losses which might
 result if Borrower defaults under this Note.

 4. MANNER OF PAYMENT

  (A) Time
  Borrower shall pay all outstanding principal and accrued interest to Lender upon receipt of a notice by Lender requiring
  immediate payment in full, as provided in Paragraph 7 of this Note.

  (B) Place
 Payment shall be made at 7840 Roswell Road, Building 300, Suite 340, Atlanta, Georgia 30350-6877 or any such other
 place as Lender may designate in writing by notice to Borrower.

  (C) Limitation of Liability
  Borrower shall have no personal liability for payment of the debt. Lender shall enforce the debt only through sale of the
  Property covered by the Security Instrument ("Property"). If this Note is assigned 10 the Secretary, the Borrower shall not
  be liable for any difference between the mortgage insurance benefits paid to Lender and the outstanding indebtedness,
  including accrued interest, owed by Borrower at the time of assignment.

       .
  5. INTEREST RATE CHANGES

 (A) Change Date
 The interest rate may change on the first day of JANUARY, 2003 and on that day of each succeeding month. Change Date
 means each date on which the interest rate could change.

  (B) The Index
 Beginning with the first Change Date, the interest rate will be based on an Index. "Index" means the weekly average yield
 on United States Treasury Securities adjusted to a constant maturity of one year, as made available by the Federal ·Reserve
 Board. "Current Index• means the most recent Index figure available 30 days before the Change Date. If the Index (as
 defined above) is no longer available, Lender will use as a new Index any index prescribed by the Secretary. Lender will
 give Borrower notice of the new Index.

 (C) Calculation or Interest Rate Changes
 Before each Change Date, Lender will calculate a new interest rate by adding a margin of one and fifty hundredths
 percentage points (1.50%) to the Current Index. Subject to the limits stated in Paragraph 5(0) of this Note, chis amount will
 be the new interest rate until the next Change Date.




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                                                       EXHIBIT 1
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 (D) Limits on Interest Rate Changes
 The interest rate will never increase above THIRTEEN AND NINE HUNDREDTHS PERCENT (13.09%).

 (E) Notice of Changes
 Lender will give notice to Borrower of any change in the interest rate. The notice must be given at least 25 days before the
 new interest rate takes effect, and must set forth (i) the date of the notice, (ii) the Change Date, (iii) the old interest rate,
 (iv) the new interest rate, (v) the Current Index and the date it was published, (vi) the method of calculating the adjusted
 interest rate, and (vii) any other information which may be required by law from time to time.

 (F) Effective Date of Changes
 A new interest rate calculated in accordance with Paragraphs 5(C) and 5(D) of this Note will become effective on the Change
 Date, unless the Change Date occurs less than 25 days after Lender has given the required notice. If the interest rate
 calculated in accordance with Paragraphs 5(C) and 5(0) of this Note decreased, but Lender failed to give timely notice of
 the decrease and applied a higher rate than the rate which should have been stated in a timely notice, then Lender shall
 recalculate the principal balance owed under this Note so it does not reflect any excessive interest.

 6. BORROWER'S RIGHT TO PREPAY
 A Borrower receiving monthly payments under the Loan Agreement has the right to pay the debt evidenced by this Note,
 in whole or in pan, without charge or penalty. Any amount of debt prepaid will first be applied to reduce the principal
 balance of the Second Note described in Paragraph 11 of this Note and then to reduce the principal balance of this Note.

 All prepayments of the principal balance shall be applied by Lender as follows:

 First, to that portion of the principal balance representing aggregate payments for mortgage insurance premiums;

 Second, to that portion of the principal balance representing aggregate payments for servicing fees;

 Third, to that porion of the principal balance representing accrued interest due under the Note; and

 Fourth, to the remaining portion of the principal balance. A Borrower may specify whether a prepayment is to be created
 to that portion of the principal balance representing monthly payments or the line of credit. If Borrower does not designate
 which portion of the principal balance is to be prepaid, Lender shall apply any partial prepayments to an existing line of
 credit or create a new line of credit.

 7. IMMEDIATE PAYMENT IN FULL
 (A) Death or Sale
 Lender may require immediate payment in full of all outstanding principal and accrued interest if:

          (i)      A Borrower dies and the Property is not the principal residence of at least one surviving Borrower; or

          (ii)     All of a Borrower's title in the Property (or his or her beneficial interest in a trust owning all or pan of
                   the Property) is sold or otherwise transferred and no other Borrower retains (a) title to the Property in fee
                   simple (b) a leasehold under a lease for less than 99 years which is renewable or a lease having a remaining
                   period of not less than 50 years beyond the date of the 100th birthday of the youngest Borrower (or
                   retaining a beneficial interest in a trust with such an interest in the Property), or (c) a life estate in the
                   Property.

 (B) Other Grounds
 Lender may require immediate payment in full of all outstanding principal and accrued interest, upon approval by an
 authorized representative of the Secretary, if:

          (i)      The Property ceases to be the principal residence of a Borrower for reasons other than death and the
                   Property is not the principal residence of a least one other Borrower;

          (ii)     For a period of longer than twelve (12) consecutive months, a Borrower fails to physically occupy the
                   Property because of physical or mental illness and the Property is not the principal residence of at least one
                   other Borrower; or

          (iii)    An obligation of the Borrower under the Security Instrument is not performed.

 (C) Payment of Costs and Expenses
 If Lender has required immediate payment in full, as described above, the debt enforced through sale of the Property may
 include costs and expenses, including reasonable and customary attorneys' fees, associated with enforcement of this Note
 to the extent not prohibited by applicable law. Such fees and costs shall bear interest from the date of disbursement al the
 same rate as the principal of this Note.




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                                                         EXHIBIT 1
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 (D) Trusts
 Conveyance of a Borrower's interest in the Property to a trust which meets the requirements of the Secretary, or conveyance
 of a trust's interest in the Property to a Borrower, shall not be considered a conveyance for purposes of this Paragraph. A
 trust shall not be considered an occupant or be considered as having a principal residence for purposes of this Paragraph.

 8. WAIVERS
 Borrower waives the rights of presentment and notice of dishonor. "Presentment" means the right to require Lender to
 demand payment of amounts due. "Notice of dishonor" means the right to require Lender to give notice to other persons
 that amounts due have not been paid.

 9. GIVING OF NOTICES .

 Unless applicable law requires a different method, any notice that must be given to Borrower under this Note will be given
 by delivering it or by mailing it by first class mail to Borrower at the propeny address above or at a different address if
 Borrower has given Lender a notice of Borrower's different address.

 Any notice that must be given to Lender under this Note will be given by first class mail to Lender at the address stated in
 Paragraph 4(B) or at a different address if Borrower is given a notice of that different address.

 10. OBLIGATIONS OF PERSONS UNDER TIDS NOTE

 If more than one person signs this Note, each person is fully obligated to keep all of the promises made in this Note. Lender
 may enforce its rights under this Note only through sale of the Property.

 11. RELATIONSHIP TO SECOND NOTE

 (A) Second Note
 Because Borrower will be required to repay amounts which the Secretary may make to or on behalf of Borrower pursuant
 to Section 255(i)( I)(A) of the National Housing Act and the Loan Agreement, the Secretary has required Borrower to grant
 a Second Note to the Secretary.

 (B) Relationship of Secretary Payments to this Note
 Payments made by the Secretary shall not be included in the debt due under this Note unless:

          (i)     This Note is assigned to the Secretary; or

          (ii)     The Secretary accepts reimbursements by the Lender for all payments made by the Secretary.

 If the circumstances described in (i) or (ii) occur, then all payments made by the Secretary, including interest on the
 payments, shall be included in the debt.

 (C) Effect on Borrower
 Where there is no assignment or reimbursement as described in (B)(i) or (ii). and the Secretary makes payments to Borrower,
 then Borrower shall not:

          (i)     Be required to pay amounts owed under this Note until the Secretary has required payment in full of all
                  outstanding principal and accrued interest under the Second Note held by the Secretary, notwithstanding
                  anything to the contrary In Paragraph 7 of this Note; or

          (ii)     Be obligated to pay interest or shared appreciation under this Note at any time, whether accrued before or
                  after the payments by the Secretary, and whether or not accrued interest has been included in the principal
                  balance of this Note, notwithstanding anything to the contrary in Paragraphs 2 or S of this Note or any
                  Allonge to this Note.


 BY SIGNING BELOW, Borrower accepts and agrees to the tenns and covenants contained in this Note.

                                                                                                               OCT 18 2002
                                                                                                                         Date


                                                PAY TO THE ORDER Of

                                                WITHOUT RECOURSE
                                            FINANCIAL FREEDOM SENIOR
                                              FUNDING CORPORATION


                               -.c6('/Uh-.-/rr-
                                   SHARON LANGLEY, \~P.
                                                               -3-


                                                       EXHIBIT 1
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                             EXHIBIT 1
          USDC IN/ND case 2:19-cv-00380 document 1-2 filed 10/07/19 page 1 of 3



                                                                                                       2:002-·fd-37247
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    THIS MORTGAGE             ("Security lnMrument"I i, givm on OCTOBF.R 18, 2002, The Mongae<>1 is DOROTHY A.
     FlDNARfK, AS TRUSTEE OF THE DOROJ'HY A. FIDSARlK LtVINO TRUST DA TED FEBRUARY 6, ·2001. whose
    address 1s 5l I t"EN'fER STREET. VAl,PARAISO, INDIANA 4638S ("Borrower"), This s«uriry lnslNmtnl is gi\leO 10
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    uis1ing undtr tile lay,·s of lhc S1ai1e or Delaware, aind whose principal office aiddress is 7840 Roswell Road, Building lOO,
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          PORTER, Stale or INDIANA, described more fully on Exhibi1 A auaiched 10 this Mongagc.

    TOGETHER WITH all die improvcmen11 mow or hereafter e~tedon the propcny, and aU casemerus. rights, appun~s.
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                                                                 EXHIBIT 2
                 USDC IN/ND case 2:19-cv-00380 document 1-2 filed 10/07/19 page 2 of 3
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           BY SIGN INO BELOW. Borrower ~ept, and aarcn 10 die lfflnli and covenaots contained in lbii Security ln1otnlffleft and
           In any rider(5) executed by Borrower and rcc:ordod with it.




           Signarurt
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                                                                      EXHIBIT 2
     USDC IN/ND case 2:19-cv-00380 document 1-2 filed 10/07/19 page 3 of 3




                                                     EXHIBIT A
EuiblC A lo 1hc Mortgaie given oo OCTOBER 18, 2002, 1'y DOROTHY A. f,/10:'liARlK, AS TRUSTEE OF THE
DOROTIIY A. FlDNARIK LtYINO TRUST DATF.D FEBRUARY 6, 2001 ("Bonowcr•, to Flnanc:ial Freedom Senior
Funding Corporation, a Sub1idi.J.ry cif Lc:hm,.n Br(lrhcrs B:anlc, FSB (•Lc:nJer"). The Propeny is l(ic.t(cd in the wumy of
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        RECORDER OF PORTF.R COUNTY, INDrANA




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                                                     EXHIBIT 2
             USDC IN/ND case 2:19-cv-00380 document 1-3 filed 10/07/19 page 1 of 3



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        LOAN NO: 7006401
        --·----·----·------~··----- ·---                              --------·------·-----·--·-·--
       State or Indiana                              SECOND MORTGAGE

        THIS MORTGAGE ("Scc11rity lnstrwne111· or ·Second Seauity lm1rwnent• ii Si'1m on OCTOBER 18, 2002.                               'The
       cnone~,ur is DOROTHY A. FIDNARlt,;, AS TRUST EB OF THE DOROTHY A. FIDNARrK LIVrNO TRUST DATE.O
        FF.BRUARY 6, 2001, whose .add~u Is Sil CENTER STREET, VALPARA1SO, lr,IDIANA 46)8S (•Borrower"). This
       Securil)' lns1rumca1, ti~a, to 1hc s«muy "' Housing M)J Urban lxvdopmen1, and w ~ add11:~ is 451 Sc-venth Strc,cr,
       S. W.• Washinston, DC 204tO("Lffldcr•) or ("Sfflcta,y"). Bom>wCf' has •treed to rq,a:, 10 UfldCT unwn1s which Lender
       i, obliJ•lcd co ~v'11<:C, in~h,..iing f"1ure ad,,aince,, under 1he 1erm!J •lf .a Home Equiiy CQnVeBion lA:>m Agreement daced
       11k: same dace as I.his Sccuri1y lnscnnnent ("wa,1 A,R'eme11t"). The .agreement to repay is evidcnc.cd by Borro~cr·s No1c
       4attd the same daic a$ ch,, S«url1y fns1nimen1 t ·~Clnd No1c"). Thi, Sc(urlty lns1rumen1 ~cure, 10 Lender: (a) 1~
       reparmcnt of die debt evidenced b)' 1he Scooru.! NO(c, with inccrett • a r11e 1ubj«1 to adjusuncnt, and .all renewals,
       e11e,ulons and modirlcations of die Note. ur 10 a nwdmuna priocii,ll amown of $192,000.00: {b) 1be payn)efll of lll ocher
       suw. with lnccrcs1, ad\'anc:cd under Paragraph$ 10 pro«ect lht securi1y of chis Security ln11rumcn1 or olhcrwhc Jue under
       1hc 1enns of chis Sccuri1y lnstrumca1; and (c) die pcrfomwicc of Borrower's covenuts and a,teemt11ts Wldet chi, Scl..""UriCy
       lns1rume111 and the No1e. The tull dd>I, includ1a, di .amout1u dt$Cribed in (a), (b), 11>11 (c) abo,·c, ii noc paid earlier, Is d~
       and pay.abli= on JANUARY 17. 2081. For thi1 pwpo~. lk>rro"A·c:r docs hereby mortgage, gnn1 and convey to Lender, 1he
       following de~ribed proper1)' IIX:,lted in PORTER CounC)', lndi~:

                The real r,roper1y lou:c:d .111he .Jdrcu 5J I CENTER STREET. VALPARAISO, INDl"-NA 46J8S, in 1ht county
                of PORTER, state nf INDIANA, ~rihtd ffl(lrc fully on Edubit /\ attached to Ibis Mortsaae.

       TOO ETH ER WITH all Ille irnpro'1cmenis now or hereafter c~cd c,n rhe propeny, Md 1U easement,, ri,tJls. apput'laWlees,
       ml fisu.nn now or hercaftu • pan of Che propc11)", AU repla,=~mcnts and addlctons shall ollso be covered by &his 5".,nity
       lnsirun,cnc. All of tht forqoing is referred 10 in tllis Scc1Jriry lns:nuncn1 as 1M • Propcny. •

       BORROWER COVENANTS d1ill Borrower i, la,.Jully seiscd of~ rsa.aic hereby con'1~od Md 1w lhc riJhl 101ra.nc and
       con~1..")' 1hc Prnpcrty and tha1 1hc Pmpcrty is only C'l'IC\lmhc-rcd by a Hr..1 Scc:urily ln.1,t111mcn1 Jiven by Borrower a.nd dared
       the wne date :a.. thi5 Sccurit)I lns1rument C"Fini s«urity ln.strumcn1· 1. Rorrowtr warrant, and will defend genetally 1hc
       1!1k 10 lhc Property ~ainin all claims and demands, subject 10 uy eRCumbrances of record.

       THIS Sf.Ct:RITY INSTRUMENT cambiMS W'Jform               <Xl'1CIW11S for n.:irlorw U$e and OOh•\lnif'orm C0'1cnm1S WiLb limited
       variations hy juris.dkrion ro con~1iruct a uniform iecurity instrumera co•·<'ring rc:a.J propen).

       UNIFORM COVENI\STS. 8orTowcr ~ I.ender co,·en~n, and agree as t"ollows:
       t. . Pll)'fflffll of Principal and Intenst. Borrower slrall pay when dkk: the principal of, and in1ere~t on, lhi: drbl e ..idc:Re4-d
       h)' 1he 5':cond SOie.
       2, Paymtlit of l'ropeny Ch•ria. Borrowtr shall pay &JI propeny charJC'S consisting of taAes, ~round renls, flood and
       han.rd in~ur~C' pr~mium$, and •peci.il assc,srncnts in .:i Iimc:ly m.lllner, .:ind shall rro\"idc: evidence of raymcnt lo Lender,
       unless t.endtff n·s i!'OI!t"Y. rJlfH' t>)· wi1hholdinJ rund~ from m,inthly r:,y~n11 ~:If to thl.' Rom,wc:r or by c:haratinJ

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         v,~i,"'·•l•r•,. '~' __ ,,.,~"'t
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-... ···----        -----·
                                                                 EXHIBIT 3
          USDC IN/ND case 2:19-cv-00380 document 1-3 filed 10/07/19 page 2 of 3



 The Calculaetd ln1CTCSt Raic will be :idjusicd If 11.ccnsary lo comply with the 1.uc liml11tion(1)dc:scribcd above and will be
 in effect Wllil the ~:u Cbangc Date. At aey change dale. if die Calcultted 1nteres1 Rare equal, the E!tl~llng Inlc:~11 lb.le,
 1hc inctteS1 rate will no< c11an,c.

 23. ~ - Upon payment of all ,unu 5«UfCd by rhi, Security ID5U\lmenl, Lc:-ndcr shall relci15C 1hi5 Security Investment
      ~huge 10 Borrower.
 wi11K>1i1

 z.e.   Waiver of Valltlltlon and "pprakeffleac.       Horrower waives 311 right of valuation acd appraisement.

 25. 1Udcn lo tllls s«wlly lastrummt. Ir one or more riJcrs are ue1.·u1«1.by Borrower Md m:ordc-d t°'c:thcr with this
 Scc:urity lmtrumen1, the COVfflallS of each 1111:h rider 1hall be incorpor~cd into and shall amend .vid supplmie111 the
 co~nan11 and agreements or this StcPnty lns1r,imen1 as 1rt11e ridef'(s) Mrt kl a pan of lhis s«uriry lnmumenc. [C,,«k
 aJI ridm •h.i an: applicable).

  D               Condominium Rider
                                                                D               PUD Riefer


  D               Shami App~lation Riclcc
                                                                D
 BY SIONJNG BELOW, BorroM!r a;cepcs and &gr11e110 Ille            tm,u and    ~venants con11ined in this Security fn.\lrument and
 In any rh!ef(s) cucuicd by Bom>wcr and ~orckd wich It.

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 Signature




lnstrunent Prepared By:               f.rin PaLtison


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                                                    ro rter                           CNll&y ss:




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                                                                   EXHIBIT 3
    USDC IN/ND case 2:19-cv-00380 document 1-3 filed 10/07/19 page 3 of 3




                                                  EXHIBIT A
Exhibil A. to the Mortgagt given on OCTOBER l11, 2002, by OOROTHV A. FIDNARIK, AS TRUSTEE Of THE
OOROntY A. flDNARIK L1VINO lRUST DATeO FEBRUARY 6, 200, t"Bonower•) to lhc- 5c:crctary of Houslnt and
                                                                                                               0
UrbM 0c;,·clopmen1, and whose address 1, 4SI Scvcnrh Street, S.W., Washington. D.C. 20410. ('Lender· or 'Stcrt1a,y ).


The l'rOf'CM)' ls located in the county or PORTF.R, ,&ate.: of INDIANA, dc.criMS as follow,:



                        LOT 2 IN BLOCK 4 IN CHAUTAUQUA PARK, IN THE CfTY OF
                        \'ALPARAISO, A PF.R PLAT THEREOF. RECORDED IN
                        ~fSCEU...ANEOUS RECOllD f.. PAGE S8:?. IN THE OFFICE OF
                        THE RECORDER OF PORTER COUNTY, INDIANA




                                                 EXHIBIT 3
JS 44 (Rev. 07/16)                                                         CIVIL COVER SHEET
                         USDC IN/ND case 2:19-cv-00380 document 1-4 filed 10/07/19 page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
                                                                                                            HEIRS AND DEVISEES OF DOROTHY A. FIDNARIK, DECEASED;
UNITED STATES OF AMERICA                                                                                    and TIFFANY DERR-DIAZ

    (b) County of Residence of First Listed Plaintiff                                                         County of Residence of First Listed Defendant               Porter
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                         and One Box for Defendant)
’ 1    U.S. Government                ’ 3     Federal Question                                                                     PTF        DEF                                           PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         ’ 1        ’ 1       Incorporated or Principal Place      ’ 4      ’ 4
                                                                                                                                                          of Business In This State

’ 2    U.S. Government                ’ 4     Diversity                                              Citizen of Another State          ’ 2     ’    2   Incorporated and Principal Place    ’ 5     ’ 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                     Citizen or Subject of a           ’ 3     ’    3   Foreign Nation                      ’ 6     ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                          BANKRUPTCY                    OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              ’ 625 Drug Related Seizure          ’ 422 Appeal 28 USC 158            ’ 375 False Claims Act
’   120 Marine                       ’   310 Airplane                 ’ 365 Personal Injury -              of Property 21 USC 881        ’ 423 Withdrawal                   ’ 376 Qui Tam (31 USC
’   130 Miller Act                   ’   315 Airplane Product               Product Liability        ’ 690 Other                               28 USC 157                         3729(a))
’   140 Negotiable Instrument                 Liability               ’ 367 Health Care/                                                                                    ’ 400 State Reapportionment
’   150 Recovery of Overpayment      ’   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                  ’ 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              ’ 820 Copyrights                   ’ 430 Banks and Banking
’   151 Medicare Act                 ’   330 Federal Employers’             Product Liability                                            ’ 830 Patent                       ’ 450 Commerce
’   152 Recovery of Defaulted                 Liability               ’ 368 Asbestos Personal                                            ’ 840 Trademark                    ’ 460 Deportation
        Student Loans                ’   340 Marine                         Injury Product                                                                                  ’ 470 Racketeer Influenced and
        (Excludes Veterans)          ’   345 Marine Product                 Liability                            LABOR                       SOCIAL SECURITY                      Corrupt Organizations
’   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY             ’ 710 Fair Labor Standards          ’   861 HIA (1395ff)               ’ 480 Consumer Credit
        of Veteran’s Benefits        ’   350 Motor Vehicle            ’ 370 Other Fraud                     Act                          ’   862 Black Lung (923)           ’ 490 Cable/Sat TV
’   160 Stockholders’ Suits          ’   355 Motor Vehicle            ’ 371 Truth in Lending         ’ 720 Labor/Management              ’   863 DIWC/DIWW (405(g))         ’ 850 Securities/Commodities/
’   190 Other Contract                       Product Liability        ’ 380 Other Personal                  Relations                    ’   864 SSID Title XVI                   Exchange
’   195 Contract Product Liability   ’   360 Other Personal                 Property Damage          ’ 740 Railway Labor Act             ’   865 RSI (405(g))               ’ 890 Other Statutory Actions
’   196 Franchise                            Injury                   ’ 385 Property Damage          ’ 751 Family and Medical                                               ’ 891 Agricultural Acts
                                     ’   362 Personal Injury -              Product Liability               Leave Act                                                       ’ 893 Environmental Matters
                                             Medical Malpractice                                     ’ 790 Other Labor Litigation                                           ’ 895 Freedom of Information
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            ’ 791 Employee Retirement             FEDERAL TAX SUITS                      Act
’   210 Land Condemnation            ’   440 Other Civil Rights         Habeas Corpus:                     Income Security Act           ’ 870 Taxes (U.S. Plaintiff        ’ 896 Arbitration
’   220 Foreclosure                  ’   441 Voting                   ’ 463 Alien Detainee                                                      or Defendant)               ’ 899 Administrative Procedure
’   230 Rent Lease & Ejectment       ’   442 Employment               ’ 510 Motions to Vacate                                            ’ 871 IRS—Third Party                    Act/Review or Appeal of
’   240 Torts to Land                ’   443 Housing/                       Sentence                                                            26 USC 7609                       Agency Decision
’   245 Tort Product Liability               Accommodations           ’ 530 General                                                                                         ’ 950 Constitutionality of
’   290 All Other Real Property      ’   445 Amer. w/Disabilities -   ’ 535 Death Penalty                  IMMIGRATION                                                            State Statutes
                                             Employment                 Other:                       ’ 462 Naturalization Application
                                     ’   446 Amer. w/Disabilities -   ’ 540 Mandamus & Other         ’ 465 Other Immigration
                                             Other                    ’ 550 Civil Rights                   Actions
                                     ’   448 Education                ’ 555 Prison Condition
                                                                      ’ 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
’ 1 Original             ’ 2 Removed from                 ’ 3         Remanded from             ’ 4 Reinstated or       ’ 5 Transferred from     ’ 6 Multidistrict                   ’ 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                    Litigation -
                                                                                                                        (specify)                        Transfer                        Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           28 USC § 1345fc
VI. CAUSE OF ACTION Brief description of cause:
                                           Federal Foreclosure
VII. REQUESTED IN     ’ CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                   JURY DEMAND:         ’ Yes     ’ No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
10/07/2019                                                              s/ Sharon Jefferson
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                           MAG. JUDGE

                 Print                               Save As...                                                                                                                   Reset
JS 44 Reverse (Rev. 07/16)

                         USDC IN/ND case 2:19-cv-00380 document 1-4 filed 10/07/19 page 2 of 2
                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                                Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and
         then the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is
         sufficient to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than
         one nature of suit, select the most definitive.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         When the petition for removal is granted, check this box.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
                USDC IN/ND case 2:19-cv-00380 document 1-5 filed 10/07/19 page 1 of 2
AO 440 (Rev. 12/09) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                     NorthernDistrict
                                                  __________ Districtof
                                                                      of__________
                                                                         Indiana

                  United States of America
                                                                     )
                                                                     )
                             Plaintiff
                                                                     )
                                v.                                   )      Civil Action No. 2:19-CV-380
 HEIRS AND DEVISEES OF DORTHY A. FIDNARIK,                           )
     DECEASED; and TIFFANY DERR-DIAZ                                 )
                            Defendant
                                                                     )


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Tiffany Derr-Diaz
                                         511 Center Street
                                         Valparaiso, Indiana 46385




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                         Sharon Jefferson
                                         Assistant United States Attorney
                                         United States Attorney's Office
                                         5400 Federal Plaza, Suite 1500
                                         Hammond, IN 46320

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT


Date:
                                                                                        Signature of Clerk or Deputy Clerk
                  USDC IN/ND case 2:19-cv-00380 document 1-5 filed 10/07/19 page 2 of 2
AO 440 (Rev. 12/09) Summons in a Civil Action (Page 2)

 Civil Action No. 2:19-CV-380

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           u I returned the summons unexecuted because                                                                             ; or

           u Other (specify):
                                                                                                                                          .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                         Server’s signature



                                                                                       Printed name and title




                                                                                          Server’s address

 Additional information regarding attempted service, etc:
